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                  DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE

The Estate ofTroy S. Bowser, bY and
through its Admini srator Ad
Prosequendum, Sandra D. Trettner, and
Sandra D. Trettner in her own right,
                       Plaintiffs.
                                                       Case    No:     1 :   l8-cv-05606
         v.

Atlantic County, Geraldine Cohen. in her               Civil Action
Offi cial and individual capacities.
Conections Oflicer Milligan, in his
Individual capacity, CFG Health Systems,
LLC, John Doe Jail Personnel or
Corrections Officers 1 -20 (fictitious
Individuals), in their individual capacities,
John Doe Health Care Providers I -20
(fictitious individuals) in their individual
Capacities and ABC Entities l-20
(fictitious entities)
                        Defendants

                                      AFFIDAVIT OF MERIT

I, Lawrence J. G:uzzardi, M.D., being over eighteen years of age hereby state and answer:

    l. I am a licensed Physician in the Commonwealth of Pennsylvania' I have been Board
         certified in Emergency Medicine and Practice and I am currently Board certified in Medical
         Toxicology.

    2.   In addition to Emergency Medicine, Family Practice and Medical Toxicology, in the last
         five years I have testified to the Standards ofCare in Conectional Medicine.

    3.   For the last five years, I have limited my practice to testifying in matters related to
         Emergency Medicine, Medical Toxicology, Correctional Care and Substance Abuse
         including problems encountered during drug withdrawal and in the evaluation of
         potentially suicidal inmates.

    4.   I have no financial interest in the outcome of this   case.


    5.   This affidavit is respectfully submitted in compliance with N.J.S.A. 2A:53 A-27   -




    6.   Based upon the records I have reviewed,   it is my opinion there is a reasonable probability
         that the care, skill or knowledge exercised or exhibited in the treatment of Troy Bowser
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       while at the Atlantic County Jail leading to his death on or about April 13, 2016, by CFG
       Health Systems, LLC, by and through its employees. agents, and/or workman fell outside
       the professional care and treatment standards for prison inmates.



                                             .\ ^-t*- -) /J,ynr             t-
                                            Lawrence J. Guzzardi, M.D.



Swom and Subscribed before me this




Notary Public
